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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In re:

 Anthony P. Montalbano, Sr.,                         Case No. 09-30477
                                                     Hon. Timothy A. Barnes
                          Debtor.                    Chapter 7 case, converted from Chapter 11


                    FINAL REPORT OF CHAPTER 11 TRUSTEE
            UPON CONVERSION OF CHAPTER 11 CASE TO CHAPTER 7 CASE
                    PURSUANT TO BANKRUPTCY RULE 1019(5)

I. Cash

          (a) Cash balance on hand at date of conversion                   $12,184,776.62

          (b) List the bank name and last four digits of account numbers
              where all of the cash held on conversion date was located.

          Bank of America *6933

          Bank of America *7181

          (c) The cash balance on hand at conversion stated above is not subject to a security
              interest.

II. Accounts Receivable
          None

III. Scheduled and Unscheduled Chapter 11 Assets Liquidated

          Scheduled recoveries by ch. 11 trustee                               $523,550.70
          Unscheduled recoveries by ch. 11 trustee                          $12,689,692.32
                Total recoveries by ch. 11 trustee                          $13,213,243.02

          See attached Exhibit 1 (“Form 1-Individual Estate Property Record And Report”)

IV. Unliquidated Assets: Scheduled and Unscheduled

          (a) Remaining value of unliquidated scheduled assets               $916,092.81
          (b) Estimated value of unliquidated unscheduled assets            $1,973,919.25
                 Total value of unliquidated assets                         $2,890,012.06
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V. Administrative Expenses paid during the course of the Chapter 11 pendency while I
   served as Chapter 11 Trustee

       Total Administrative Expenses Paid during the
       period I served as chapter 11 trustee                               $106,444.90

               See attached Exhibit 2 (“Form 2- Estate Cash Receipts and Disbursements
               Journal”)

VI. Payments to Debtor and Insiders during the course of the Chapter 11 pendency while I
     served as Chapter 11 Trustee

Name                                   Amount                Purpose
Susan Montalbano                       $881,699.50           Settlement per court order 9/7/11
Anthony Montalbano                     $822.00               Exemption claimed and allowed
Gina Krol, Trustee for Estate          $39,500.00            50% interest in 3 vehicles co-owned
of Montalbano Builders (“MB”)                                by Debtor and MB that were
                                                             transferred to S. Montalbano as part
                                                             of 9/7/11 settlement
               TOTAL                   $922,021.50

VII. Accounts Payable

       Total unpaid debts incurred during chapter 11 case.                 $ 466,658.99

               See attached Exhibit 3 (“Amended Schedule of Unpaid Debts Incurred During the
               Chapter 11 Period” which was filed on December 6, 2011, and amended on
               September 26, 2014)

VIII. Executory Contracts and Unexpired Leases

       (a) Rejected: None

       (b) New, assumed, or not rejected: None

The Final Report above, consisting of two pages and three exhibits, has been prepared for or by
the undersigned, who declares under penalty of perjury that the statements contained therein are
true and correct to the best of my knowledge, information and belief.


Executed on: 9/26/14                   Signed:         ___/s/Joseph A. Baldi, Trustee_______
                                       Print name:     __Joseph A. Baldi __________________
                                       Title:          __Former Chapter 11 Trustee _________
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                                                                                INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                     Page:      1
                                                                                                        ASSET CASES
Case No:            09-30477            Judge: Timothy A. Barnes                                                                          Trustee Name:                     Joseph A. Baldi
Case Name:          MONTALBANO SR., ANTHONY P.                                                                                           Date Filed (f) or Converted (c):   11/01/11 (c)
                                                                                                                                         341(a) Meeting Date:               09/28/09
For Period Ending: 11/01/11                                                                                                              Claims Bar Date:                   03/15/12



                                       1                                                 2                          3                         4                         5                                    6
                                                                                                           Estimated Net Value
                                                                                     Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                             Asset Description                                      Unscheduled          Less Liens, Exemptions,          Abandoned                Received by                Gross Value of Remaining Assets
                 (Scheduled and Unscheduled (u) Property)                             Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. 1916 Midwest Club Parkway                                                         1,750,000.00                            0.00                                               0.00                     FA
     Tenancy by the entirety
 2. Single Family Home                                                                7,500,000.00                            0.00                                               0.00                     FA
     Paradise Valley, AZ - property transferred to lender by deed in lieu of
     foreclosure during chapter 11
 3. 2 single lots-Hargar Rd., Oakbrook, IL                                             550,000.00                             0.00                                               0.00                     FA
     Property transferred to secured creditor pursuant to deed in lieu of
     foreclosure in chapter 11
 4. CASH                                                                                     300.00                           0.00                                               0.00                     FA
     spent by debtor during chapter 11 prior to appointment of trustee
 5. Checking Account-Banco Popular (9114)                                               93,973.08                             0.00                                               0.00                     FA
     Joint account with spouse, Susan Montalbano, funds turned over to
     spouse during chapter 11 prior to appointment of trustee as her share of
     tax refunds
 6. Checking Account-Banco Popular (Acct #3200)                                           5,645.95                       5,645.95                                            5,645.95                     FA
     funds transferrred to DIP account and turned over to trustee
 7. Banco Popular - DIP Account                                                         83,067.50                             0.00                                          41,129.93                     FA
     Balance of funds remaining after DIP payment of chapter 11
     administrative expenses and living expenses.
 8. HOUSEHOLD GOODS                                                                     10,000.00                             0.00                                               0.00                     FA
     Transferred to Susan Montalbano pursuant to settlement of tax refund
     ownership issue
 9. Wearing Apparel                                                                       2,500.00                            0.00                                               0.00                     FA
 10. Rolexx Watch                                                                        Unknown                              0.00                                               0.00                     FA
     Transferred to Susan Montalbano pursuant to settlement of tax refund
     ownership issue




LFORM1                                                                                                                                                                                                                   Ver: 18.01
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                                                                               INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                      Page:       2
                                                                                                      ASSET CASES
Case No:            09-30477            Judge: Timothy A. Barnes                                                                        Trustee Name:                      Joseph A. Baldi
Case Name:          MONTALBANO SR., ANTHONY P.                                                                                         Date Filed (f) or Converted (c):    11/01/11 (c)
                                                                                                                                       341(a) Meeting Date:                09/28/09
                                                                                                                                       Claims Bar Date:                    03/15/12



                                       1                                                2                         3                         4                         5                                     6
                                                                                                         Estimated Net Value
                                                                                    Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                    Unscheduled         Less Liens, Exemptions,          Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                           Values               and Other Costs)          OA=554(a) Abandon             the Estate

 11. 2 shotguns and misc. golf clubs (3 sets)                                           Unknown                             0.00                                                0.00                     FA
     Transferred to Susan Montalbano pursuant to settlement of tax refund
     ownership issue
 12. Oppenheimer IRA Account                                                          265,929.58                            0.00                                                0.00                     FA
     Exempt--retained by Debtor
 13. Montalbano Builders 401k plan                                                    160,705.86                            0.00                                                0.00                     FA
 14. Stock and Business Interests                                                            0.00                           0.00                                                0.00                     FA
     Roughly 75 companies (home building, management companies, charter
     airplane, home mortgage financing, land holding, video hand dryer
     units, shell entities,--all 99% or 100% owned by debtor--except, DLG,
     LLC (Home mortgage financing - debtor owned 49%), Impressionaire
     LLC- (video hand dryer units - debtor owned 50%), MBC VII, LLC
     (Land holding - debtor owned 67%)
 15. Partnership interests                                                            835,000.00                            0.00                                          476,774.82                     FA
     MBC XX, LLC - property sold during chapter 11 prior to appointment
     of trustee, sale funds are balance turned over after payment of chapter
     11 DIP administration expenses
 16. Partnership interests - GLS                                                      256,768.40                      177,244.10                                                0.00                       177,244.10
     Hedge Fund-GLS partnership
 17. Oppenheimer Money Market Account                                                  19,005.76                       19,026.36                                                0.00                          19,026.36
     Oppenheimer Money Market Account x7526
 18. Tax Refunds (u)                                                                 1,646,618.50                           0.00                                      1,743,592.03                       1,285,119.25
     tax refunds for carrybacks from 2008 to 2004, 2005 and 2006.
     Received federal tax refunds.
 19. CONTINGENT CLAIMS -2009 carry back refund (u)                                           0.00                           0.00                                     10,946,100.29                       FA
     2009 tax refund to carry back net operating loss from 2009 to 2004,
     2005 and 2006. Federal tax refunds received.



LFORM1                                                                                                                                                                                                                    Ver: 18.01
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                                                                                                     ASSET CASES
Case No:            09-30477               Judge: Timothy A. Barnes                                                                    Trustee Name:                     Joseph A. Baldi
Case Name:          MONTALBANO SR., ANTHONY P.                                                                                        Date Filed (f) or Converted (c):   11/01/11 (c)
                                                                                                                                      341(a) Meeting Date:               09/28/09
                                                                                                                                      Claims Bar Date:                   03/15/12



                                       1                                                2                        3                         4                         5                                    6
                                                                                                        Estimated Net Value
                                                                                    Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                    Unscheduled        Less Liens, Exemptions,          Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                           Values              and Other Costs)          OA=554(a) Abandon             the Estate

 20. CONTINGENT CLAIMS - 2008 tax refunds Arizona (u)                                 200,000.00                           0.00                                               0.00                       719,822.35
     State of Arizona tax refund for 2008 to carry back a net operating loss
     from 2008 to 2006 (debtor claimed 1/2 interest with spouse)
 21. Patents, copyrights and intel. prop                                                Unknown                            0.00                                               0.00                     FA
     Application for patent for digital advertising hand dryer filed on 3/23/07
     is pending (patent to be issued under name of Impressionaire II, LLC, an
     entity in which the Debtor owns a 51% interst
 22. 2003 Mercedes                                                                     23,000.00                           0.00                                               0.00                     FA
     Car titled in name of Debtor and Montalbano Builders, Inc. -
     Transferred to Susan Montalbano pursuant to settlement of tax refund
     ownership issue
 23. 1998 Mercedes Benz                                                                 5,000.00                           0.00                                               0.00                     FA
     Transferred to Susan Montalbano pursuant to settlement of tax refund
     ownership issue
 24. 2003 Lincoln Aviator                                                               9,000.00                           0.00                                               0.00                     FA
     Transferred to Susan Montalbano pursuant to settlement of tax refund
     ownership issue
 25. 2003 Ford Explorer                                                                 6,000.00                           0.00                                               0.00                     FA
     Transferred to Susan Montalbano pursuant to settlement of tax refund
     ownership issue
 26. 2007 Cadillac Escalade                                                            27,000.00                           0.00                                               0.00                     FA
     Car titled in name of Debtor and Montalbano Builders - Transferred to
     Susan Montalbano pursuant to settlement of tax refund ownership issue
 27. 2004 Mercedes Benz                                                                19,000.00                           0.00                                               0.00                     FA
     Car titled in name of Debtor and Montalbano Buiilders - Transferred to
     Susan Montalbano pursuant to settlement of tax refund ownership issue
 28. Computer                                                                           1,500.00                           0.00                                               0.00                     FA



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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                             Page:      4
                                                                                                            ASSET CASES
Case No:             09-30477            Judge: Timothy A. Barnes                                                                               Trustee Name:                     Joseph A. Baldi
Case Name:           MONTALBANO SR., ANTHONY P.                                                                                                Date Filed (f) or Converted (c):   11/01/11 (c)
                                                                                                                                               341(a) Meeting Date:               09/28/09
                                                                                                                                               Claims Bar Date:                   03/15/12



                                       1                                                    2                            3                          4                         5                                    6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                  Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 29. 979,837 Membership reward points from AmEx                                             Unknown                                 0.00                                               0.00                     FA
     miles used by debtor during chapter 11 prior to appointment of trustee
     to supervise Arizona construction
 30. Membership interest in Glen Oak Country Club                                           Unknown                                 0.00                                               0.00                     FA
     Transferred to Susan Montalbano pursuant to settlement of tax refund
     ownership issue
 31. Tax Refunds (u)                                                                             0.00                         688,800.00                                               0.00                       688,800.00
     Illinois state income tax refunds due for loss carry backs from 2008 and
     2009 to tax years 2004, 2005 and 2006. Filed amended returns
     claiming total of $688,800.00.

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                   $13,470,014.63                          $890,716.41                                    $13,213,243.02                     $2,890,012.06
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   Trustee administered case in chapter 11, settled dispute regarding large tax refund ownership with Debtor's non-filing
   spouse, completed deed in lieu transactions with respect to properties owned by entities controlled by debtor.


   Initial Projected Date of Final Report (TFR): 12/31/12           Current Projected Date of Final Report (TFR): 06/30/15




LFORM1                                                                                                                                                                                                                         Ver: 18.01
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           09-30477 -TAD                                                                                             Trustee Name:                    Joseph A. Baldi
  Case Name:         MONTALBANO SR., ANTHONY P.                                                                                Bank Name:                       Bank of America, N.A.
                                                                                                                               Account Number / CD #:           *******6933 Dip Acct - MM/INT
  Taxpayer ID No:    *******6858
  For Period Ending: 10/31/11                                                                                                  Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                               Separate Bond (if applicable):


           1               2                           3                                                 4                                                 5                       6                   7
    Transaction      Check or                                                                                                         Uniform                                                      Account / CD
       Date          Reference               Paid To / Received From                         Description Of Transaction              Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                                                                BALANCE FORWARD                                                                                                                0.00
          04/30/11    6, 7, 18   Popular Community Bank - Wire transfer         Funds at bank:ck acct & tax refund                                       1,790,367.91                                 1,790,367.91
                                                                                   Memo Amount:           5,645.95                   1129-000
                                                                                Checking account Banco Popular
                                                                                   Memo Amount:           41,129.93                  1129-000
                                                                                DIP Account - Banco Popular
                                                                                   Memo Amount:          1,743,592.03                1224-000
                                                                                Tax Refund
          06/08/11               Transfer to Acct #*******7181                  Bank Funds Transfer                                  9999-000                                       40,949.00         1,749,418.91
                                                                                Transfer to pay bond premium and allowed fees of
                                                                                Frost Ruttenberg.
          06/14/11      15       ADELMAN & GETTLEMAN, LTD.                      sale funds MBCXX LLC sold pre-appt                   1129-000                        9.00                             1,749,427.91
                                 53 W. Jackson Blvd
                                 Suite 1050
                                 Chicago, IL 60604
          06/14/11      15       ADELMAN & GETTLEMAN, LTD.                      sale funds MBCXX LLC sold pre-appt                     1129-000            476,726.69                                 2,226,154.60
                                 53 W. Jackson Blvd                             turnover of funds held by debtor's attorney, remaining
                                 Suite 1050                                     proceeds of sale of real estate.
                                 Chicago, IL 60604
          06/15/11      15       ADELMAN & GETTLEMAN, LTD.                      sale funds MBCXX LLC sold pre-appt                   1129-000                   39.13                                 2,226,193.73
                                 53 W. Jackson Blvd
                                 Suite 1050
                                 Chicago, IL 60604
          06/20/11      19       UNITED STATES TREASURY                         TAX REFUND                                           1224-000            5,364,078.00                                 7,590,271.73
                                 Internal Revenue Service
                                 Cincinnati, OH 45999-0148
          06/20/11      19       UNITED STATES TREASURY                         TAX REFUND                                           1224-000            5,075,243.00                                12,665,514.73
                                 Internal Revenue Service
                                 Cincinnati, OH 45999-0148
          06/20/11      19       UNITED STATES TREASURY                         TAX REFUND                                           1224-000              506,779.29                                13,172,294.02

                                                                                                                               Page Subtotals           13,213,243.02                  40,949.00
                                                                                                                                                                                                           Ver: 18.01
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                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           09-30477 -TAD                                                                                               Trustee Name:                    Joseph A. Baldi
  Case Name:         MONTALBANO SR., ANTHONY P.                                                                                  Bank Name:                       Bank of America, N.A.
                                                                                                                                 Account Number / CD #:           *******6933 Dip Acct - MM/INT
  Taxpayer ID No:    *******6858
  For Period Ending: 10/31/11                                                                                                    Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                 Separate Bond (if applicable):


           1               2                             3                                                4                                                  5                       6                  7
    Transaction      Check or                                                                                                           Uniform                                                     Account / CD
       Date          Reference               Paid To / Received From                          Description Of Transaction               Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                 Internal Revenue Service
                                 Cincinnati, OH 45999-0148
          08/29/11               Transfer to Acct #*******7181                  Bank Funds Transfer                               9999-000                                            16,666.30       13,155,627.72
                                                                                To Pay Compensation ($16,457.75) and
                                                                                Reimbursement of Expenses ($208.55) to Arnstein &
                                                                                Lehr as special counsel, per order dated 8/25/11
          09/19/11               Transfer to Acct #*******7181                  Bank Funds Transfer                                    9999-000                                       41,668.50       13,113,959.22
                                                                                Transfer funds to pay interim compensation to BBW
                                                                                and TR. ecb September 19, 2011, 02:52 pm
          09/23/11               Transfer to Acct #*******7181                  Bank Funds Transfer                                    9999-000                                      922,021.50       12,191,937.72
                                                                                Transfer funds to pay settlement with Susan
                                                                                Montalbano of $881,699.50 and purchase cars from
                                                                                Gina Krol, trustee of Montalbano Builders, Inc. for
                                                                                $39,500 as additional consideration for Susan
                                                                                Montalbano settlement. Also transfer funds to
                                                                                reimburse Tony Montalbano for unemployment
                                                                                compensation of $822.00.
          09/28/11               Transfer to Acct #*******7181                  Bank Funds Transfer                                    9999-000                                            95.00      12,191,842.72
                                                                                For duplicate title for Mercedes Benz vehicle
          10/12/11               Transfer to Acct #*******7181                  Bank Funds Transfer                                    9999-000                                           975.00      12,190,867.72
                                                                                Transfer to pay UST chapter 11 quarterly fees.
          10/31/11               Bank of America, N.A.                          BANK SERVICE FEE                                       2600-000                                          5,000.00     12,185,867.72




                                                                                                                                 Page Subtotals                        0.00           986,426.30
                                                                                                                                                                                                            Ver: 18.01
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                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           09-30477 -TAD                                                                                     Trustee Name:                    Joseph A. Baldi
  Case Name:         MONTALBANO SR., ANTHONY P.                                                                        Bank Name:                       Bank of America, N.A.
                                                                                                                       Account Number / CD #:           *******6933 Dip Acct - MM/INT
  Taxpayer ID No:    *******6858
  For Period Ending: 10/31/11                                                                                          Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                       Separate Bond (if applicable):


          1                2                         3                                             4                                               5                       6                  7
    Transaction     Check or                                                                                                  Uniform                                                     Account / CD
       Date         Reference              Paid To / Received From                     Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)

                                       Memo Allocation Receipts:        1,790,367.91               COLUMN TOTALS                                13,213,243.02             1,027,375.30       12,185,867.72
                                   Memo Allocation Disbursements:               0.00                   Less: Bank Transfers/CD's                         0.00             1,022,375.30
                                                                                                   Subtotal                                     13,213,243.02                  5,000.00
                                             Memo Allocation Net:       1,790,367.91                   Less: Payments to Debtors                                                   0.00
                                                                                                   Net
                                                                                                                                                13,213,243.02                  5,000.00




                                                                                                                       Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                  Ver: 18.01
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           09-30477 -TAD                                                                                              Trustee Name:                    Joseph A. Baldi
  Case Name:         MONTALBANO SR., ANTHONY P.                                                                                 Bank Name:                       Bank of America, N.A.
                                                                                                                                Account Number / CD #:           *******7181 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6858
  For Period Ending: 10/31/11                                                                                                   Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                Separate Bond (if applicable):


           1               2                             3                                                  4                                               5                     6                   7
    Transaction      Check or                                                                                                          Uniform                                                    Account / CD
       Date          Reference                Paid To / Received From                           Description Of Transaction            Tran. Code       Deposits ($)       Disbursements ($)        Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                0.00
          06/08/11               Transfer from Acct #*******6933                 Bank Funds Transfer                                  9999-000               40,949.00                                    40,949.00
                                                                                 Transfer to pay bond premium and allowed fees of
                                                                                 Frost Ruttenberg.
          06/08/11    001001     International Sureties                          Bond Premium Payment                                 2300-000                                        4,800.00            36,149.00
                                 701 Poydras Street #420                         Per Bond #01604035
                                 New Orleans, LA 70139
          06/08/11    001002     Frost, Ruttenberg & Rothblatt, P.C.             ACCOUNTANT FEES                                      6410-000                                    36,149.00                     0.00
                                                                                 Per Court Order 6/8/11 awarding interim
                                                                                 compensation
          08/29/11               Transfer from Acct #*******6933                 Bank Funds Transfer                               9999-000                  16,666.30                                    16,666.30
                                                                                 To Pay Compensation ($16,457.75) and
                                                                                 Reimbursement of Expenses ($208.55) to Arnstein &
                                                                                 Lehr as special counsel, per order dated 8/25/11
          08/29/11    001003     Arnstein & Lehr, LLP                            Final Fees & Exp per order 8/25/11                                                               16,666.30                     0.00
                                 120 S. Riverside Plaza, Suite 1200
                                 Chicago, IL 60606
                                                                                         Fees                   16,457.75             6210-000
                                                                                         Expenses                208.55               6220-000
          09/19/11               Transfer from Acct #*******6933                 Bank Funds Transfer                                  9999-000               41,668.50                                    41,668.50
                                                                                 Transfer funds to pay interim compensation to BBW
                                                                                 and TR. ecb September 19, 2011, 02:52 pm
          09/19/11    001004     JOSEPH A. BALDI , as Trustee                    TR Interim Compensation - 1st App                    6101-000                                    26,691.00               14,977.50
                                 19 S. LaSalle Street                            Per Court Order dtd 09/14/11
                                 Suite 1500
                                 Chicago, Illinois 60603
          09/19/11    001005     Baldi Berg & Wallace, Ltd.                      TR Attorneys Compensation                            6110-000                                    14,977.50                     0.00
                                 19 S. LaSalle St.                               Per Court Order dtd 9-16-11
                                 Suite 1500                                      Ch. 11/ First Interim Application
                                 Chicago, IL 60603

                                                                                                                               Page Subtotals                99,283.80                99,283.80
                                                                                                                                                                                                           Ver: 18.01
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               Exhibit 2                                                          Document FORM Page
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:           09-30477 -TAD                                                                                                 Trustee Name:                    Joseph A. Baldi
  Case Name:         MONTALBANO SR., ANTHONY P.                                                                                    Bank Name:                       Bank of America, N.A.
                                                                                                                                   Account Number / CD #:           *******7181 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6858
  For Period Ending: 10/31/11                                                                                                      Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1               2                            3                                                    4                                                 5                     6                   7
    Transaction      Check or                                                                                                               Uniform                                                 Account / CD
       Date          Reference               Paid To / Received From                            Description Of Transaction                 Tran. Code     Deposits ($)       Disbursements ($)       Balance ($)
          09/23/11               Transfer from Acct #*******6933                   Bank Funds Transfer                                     9999-000            922,021.50                                922,021.50
                                                                                   Transfer funds to pay settlement with Susan
                                                                                   Montalbano of $881,699.50 and purchase cars from
                                                                                   Gina Krol, trustee of Montalbano Builders, Inc. for
                                                                                   $39,500 as additional consideration for Susan
                                                                                   Montalbano settlement. Also transfer funds to
                                                                                   reimburse Tony Montalbano for unemployment
                                                                                   compensation of $822.00.
          09/23/11    001006     SUSAN MONTALBANO AND RICHARD HIRSH                settlement payment per court order                      8500-002                                  855,243.00              66,778.50
                                 %Richard L. HIrsh                                 Payment in settlement of non-debtor spouse claims to
                                 Richard L. HIrsh & Associates, P.C.               tax refunds received by estate per court order of
                                 1500 Eisenhower Lane                              September 7, 2011
                                 Suite 800
                                 Lisle, Il 60532
          09/23/11    001007     SUSAN MONTALBANO AND RICHARD HIRSH                balance of settlement payment                           8500-002                                   26,456.50              40,322.00
                                 %Richard L. HIrsh                                 Balance of settlement of non-debtor spouse's claim to
                                 Richard L. HIrsh & Associates, P.C.               tax refunds received by Estate per order of September
                                 1500 Eisenhower Lane                              7, 2011
                                 Suite 800
                                 Lisle, Il 60532
          09/23/11    001008     ANTHONY P. MONTALBANO, SR                         return funds to debtor                                  8100-002                                      822.00              39,500.00
                                 1916 Midwest Club Parkway                         Return exempt unemployment compensation
                                 Oakbrook, IL 60523                                payments received by estate to debtor
          09/23/11    001009     GINA KROL, as trustee of the Estate of            settlement payment                                      8500-002                                   39,500.00                     0.00
                                 Montalbano Builders, Inc.                         Payment to purchase vehicles from Montalbano
                                 % Cohen & Krol                                    Builders, Inc. for settlement with Susan Montalbano
                                 105 W. Madison Street                             per court order of September 7 2011
                                 Suite 1100
                                 Chicago, IL 60602
          09/28/11               Transfer from Acct #*******6933                   Bank Funds Transfer                                     9999-000                 95.00                                          95.00


                                                                                                                                   Page Subtotals              922,116.50             922,021.50
                                                                                                                                                                                                              Ver: 18.01
LFORM24
                                             Case 09-30477                  Doc 514   Filed 09/26/14 Entered 09/26/14 14:32:38                                   Desc Main
               Exhibit 2                                                              Document FORM Page
                                                                                                      2 12 of 13                                                                                                    Page:       6
                                                                             ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
  Case No:               09-30477 -TAD                                                                                                 Trustee Name:                       Joseph A. Baldi
  Case Name:             MONTALBANO SR., ANTHONY P.                                                                                    Bank Name:                          Bank of America, N.A.
                                                                                                                                       Account Number / CD #:              *******7181 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******6858
  For Period Ending: 10/31/11                                                                                                          Blanket Bond (per case limit):      $ 5,000,000.00
                                                                                                                                       Separate Bond (if applicable):


           1                2                                  3                                                4                                                    5                          6                         7
    Transaction         Check or                                                                                                              Uniform                                                               Account / CD
       Date             Reference                  Paid To / Received From                          Description Of Transaction               Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                      For duplicate title for Mercedes Benz vehicle
          09/28/11       001010      Secretary of State                               Duplicate vehicle title                                2990-000                                                 95.00                         0.00
                                                                                      For Duplicate Titlle VIN WDBFA67F0WF158721
          10/12/11                   Transfer from Acct #*******6933                  Bank Funds Transfer                                    9999-000                     975.00                                                975.00
                                                                                      Transfer to pay UST chapter 11 quarterly fees.
          10/12/11       001011      US TRUSTEE'S OFFICE                              UST Quarterly Fees                                     2950-000                                                975.00                         0.00
                                     Northern District of Illinois                    United States Trustee quarterly fees through
                                     Suite 873                                        conversion
                                     219 S. Dearborn Street
                                     Chiago, IL 60604
          10/31/11                   Bank of America, N.A.                            BANK SERVICE FEE                                       2600-000                                               1,091.10                  -1,091.10

                                             Memo Allocation Receipts:                0.00                      COLUMN TOTALS                                     1,022,375.30               1,023,466.40                      -1,091.10
                                         Memo Allocation Disbursements:               0.00                          Less: Bank Transfers/CD's                     1,022,375.30                       0.00
                                                                                                                Subtotal                                                     0.00         1,023,466.40
                                                     Memo Allocation Net:             0.00                          Less: Payments to Debtors                                               922,021.50
                                                                                                                Net
                                                                                                                                                                             0.00           101,444.90
                                                                                                                                                                                           NET                             ACCOUNT
                     Total Allocation Receipts:           1,790,367.91                                          TOTAL - ALL ACCOUNTS                         NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:                    0.00                                       Dip Acct - MM/INT - ********6933                    13,213,243.02                      5,000.00            12,185,867.72
                                                                                              Checking Account (Non-Interest Earn - ********7181                              0.00               101,444.90                   -1,091.10
                     Total Memo Allocation Net:           1,790,367.91
                                                                                                                                                           ------------------------    ------------------------   ------------------------
                                                                                                                                                                 13,213,243.02                   106,444.90             12,184,776.62
                                                                                                                                                           ==============             ==============              ==============
                                                                                                                                                            (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                                       Transfers)               To Debtors)                    On Hand




                                                                                                                                       Page Subtotals                     975.00                     2,161.10
                                                                                                                                                                                                                               Ver: 18.01
LFORM24
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

In re                                                   )       Chapter 7
                                                        )       Case No. 09-30477
Anthony P. Montalbano, Sr.                              )       Hon. Timothy A. Barnes
                                                        )
                  Debtor.                               )

            AMENDED Schedule of Unpaid Debts Incurred During the Chapter 11 Period

        Joseph A. Baldi, as former Chapter 11 Trustee of the estate (“Estate”) of Anthony P.
Montalbano, Sr., debtor (“Debtor”), hereby files the amended schedule of unpaid debts incurred prior
to the conversion of this case to chapter 7 on November 1, 2011 as set forth below in accordance
with Rule 1019 of the Federal Rules of Bankruptcy Procedure.

              Creditor                              Claim Description                    Amount
Michael McGurn                              Special Counsel Fees and Expenses       $ 94,756.50
1801 S. Meyers Road, Suite 500              1/1/2011 – 10/31/2011
Oakbrook Terrace, Illinois 60181

Frost Ruttenberg & Rothblatt, P.C.          Accountant Fees and Expenses            $62,587.90
111 Pfingsten Road, Suite 300               4/1/2011 – 10/31/2011
Deerfield, IL 60015

Joseph A. Baldi, Trustee                    Ch. 11 Trustee Fees and Expenses        $ 173,309.00
Baldi Berg & Wallace, Ltd.                  8/1/2011 – 10/31/2011
19 S. LaSalle Street, Suite 1500
Chicago IL 60603

Baldi Berg & Wallace, Ltd.                  Attorney Fees and Expenses              $28,270.46
19 S. LaSalle Street, Suite 1500            8/1/2011 – 10/31/2011
Chicago IL 60603

Adelman & Gettleman Ltd.                    Attorney Fees and Expenses              $ 107,735.13
53 W. Jackson Blvd., Suite 1050             8/1/2010 – 2/16/2011
Chicago, IL 60604

                                            TOTALS                                  $466,658.99

I certify that I have read the foregoing schedule and that the information contained therein is true and
correct to the best of my knowledge, information and belief.

Dated: September 26, 2014                               ______/s/Joseph A. Baldi, Trustee_______
                                                              Joseph A. Baldi, Trustee
Joseph A. Baldi
Baldi Berg, Ltd.
20 N. Clark Street, Suite 200
Chicago, IL 60602
312-726-8150
